Case 3:17-cv-00321-WKW-SMD    Document 6-40     Filed 05/18/17   Page 1 of 18




                              EXHIBIT JJ


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
        Case 3:17-cv-00321-WKW-SMD                      Document 6-40              Filed 05/18/17       Page 2 of 18

BRIAN E. FROSH                                                                                              ELIZABETH F. HARRIS
Attorney General                                                                                        Chief Deputy Attorney General

                                                                                                            DONNA    Hlll Srnro¡t
                                                                                                           Deputy Attorney General

                                                                                                           ClRolrl Qunrrnocxr
                                        Sr.trn oT MARYLANn                                                 Deputy Attorney General

                                Orrrcn oF THE ArronNEY GENERAL
  FAcsrMrLE No.                                                                                             WRTTER'S DIRECT DIAL No.
   410-s76-7036                                                                                                   4r0-s76-631r




                                                           October 25,2016




     The Honorable Alan M. Wilner
     Chair, Standing Committee on Rules
     of Practice and Procedure
     20ll- D Commerce Park Drive
     Annapolis, Maryland 21 40 |


     Dear Judge Wilner:

             I write to request that the Rules Committee consider changes to Maryland Rule 4-216 to
     ensure that defendants are not held in pretrial detention solely because they lack the financial
     resources to post a monetary bail. State law and constitutional principles demand that, in cases
     where it is not necessary to detain a defendant to ensure appearance at trial or to protect public
     safety, conditions ofrelease from pretrial detention should be the least onerous necessary to serve
     those important public interests. Unfortunately, the number of people detained pretrial in Maryland
     continues to rise. In many instances, Maryland criminal defendants-people who have not been
     convicted of a crime-are held in jail in our State only because they are too poor to post bail.

             Numerous studies have documented that Maryland's pretrial system currently operates,
     though not by design or intent, in a manner that is often inconsistent with State and federal law,
     ineffective at addressing public safety concerns, disproportionately burdensome to communities
     of color, and inefficient in its use of State and local resources. Our current system also harms
     defendants and their families by unnecessarily depriving them of employment and income and by
     unnecessarily separating defendants from children and other dependents.

            I urge the Committee to recommend amendments to the Rules to reflect that while pretrial
     detention may be necessary to ensure a defendant's appearance or to protect the safety of the
     community, bail may not be set solely to prevent release. In particular, the amendments should




                                          200 Saint Paul Place   * Baltimore, Maryland, 21202-2021
                                Main Office (410) 576-6300 .i. Main Offrce Toll Free (888) 743-0023
            Consumer Complaints and Inquiries (410) 528-8662 * Health Advocacy UnilBilling Complaints (410) 528-1840
Health Advocacy Unit Toll Free (877) 261-8807*  Homebuilders Dlvision Toll Free (877) 259-4525  *
                                                                                               Telephone for Deaf (410) 576-6372
  Case 3:17-cv-00321-WKW-SMD                    Document 6-40           Filed 05/18/17         Page 3 of 18




The Honorable Alan M. Wilner
Page2


expressly clarify that where the judicial officer determines, based on all applicable criteria, that
bail is the least onerous condition necessary to ensure the defendant's appearance or to protect
public safety, that offlrcer must conduct an individualized inquiry into the defendant's financial
circumstances and may not set bail that exceeds the defendant's means for the purpose of detaining
the defendant.

         I      Cunnnxr LAtry REeUIRES JUDIcIAL oFFICERS To coNDUCT AN INDIVIDUALIaT,D
                INQUIRY INTO A DEFENDANT'S FINANCIAL CIRCUMSTANCES AND THE IMPOSITION
                OF BAIL THAT A DEFENDANT CANNOT AFFORD RAISES SIGNIFICANT
                CONSTITUTIONAL CONCERNS.

      On October 11,2016, in a letter responding to questions from members of the General
Assembly, the Office of the Attomey General advised:

         the Court of Appeals would flikely] conclude that the State's statutory law and court
         rules should be applied to require a judicial offrcer to conduct an individualized
         inquiry into a criminal defendant's ability to pay a financial condition of pretrial
         release. Although it is less clear that defendants have a constitutional right to an
         individualized inquiry, constitutional considerations provide further support to the
         requirement of an individualized inquiry. [Moreover], while imposing a financial
         condition is allowed under current State law and is not unconstitutional in and of
         itself, the Court of Appeals would likely hold that, in the event a judicial officer
         determines that pretrial detention is not justified to meet the State's regulatory goals,
         a judicial officer may not impose a financial condition set solely to detain the
         defendant. Conditions of pretrial release must instead be the least onerous to
         reasonably ensure the appearance ofthe defendant as required, protect the safety of
         the victim, or ensure that the defendant will not pose a danger to another person or
         the community. As a result, setting the bail in an amount not affordable to the
         defendant, thus effectively denying release, raises a significant risk that the Court
         of Appeals would find it violates due process. If pretrial detention is not justified
         yet bail is set out of reach financially for the defendant, it is also likely the Court
         would declare that the bail is excessive under the Eighth Amendment of the U.S.
         Constitution and Article 25 of the Maryland Declaration of Rights.r




I Seelefter from Sandra Benson Brantley, Counsel to the General Assembly, Office of the Attorney General,
to the Honorable Erek L. Barron, the Honorable Kathleen M. Dumais, the Honorable Shelly Hettleman, the
Honorable Marc Korman, and the Honorable Brooke E. Lierman (October ll,2016). The OAG advice letter
is attached in support ofour request.
      Case 3:17-cv-00321-WKW-SMD                  Document 6-40            Filed 05/18/17         Page 4 of 18




The Honorable Alan M. Wilner
Page 3



              II. Cunnnxr pRETRTAL RELEASE RULES ARE Nor coNStsrENTLy FoLLowED ACRoss
                  THE STATE.

         Maryland Rule 4-216(e) lists the factors a judicial officer must consider when making
pretrial release determinations, including the defendant's "employment status and history" and
"financial resources." Despite this directive, bail is set for many defendants in amounts greater
than they can afford. Several studies of Maryland's pretrial detention system have found that bail
is often set without consideration of the defendant's financial means.2 As noted in the attached
OAG advice letter, Rule 4-216(e) directs the judicial officer to consider the specified information
"to the extent available," and it is possible that some judicial officers have interpreted this language
as allowing them to consider only the information presented to them. Amending the Rule to clarify
that a judicial officer must make an individualized inquiry as to the defendant's ability to pay the
bail amount set will ensure compliance with the Rule and address the serious constitutional
concerns associated with wealth-based disparities in pretrial detention.

       III.     MIRyI,IIID'S PRETRIAL SYSTEM DoES NoT EFFECTIVELY ADvANCE THE STATE'S
                COMPELLING INTERESTS IN THE PROTECTION OF PUBLIC SAFETY AND IN ENSURING
                THE APPEARANCE OF CRIMINAL DEFENDANTS AT TRIAL.

        Although Maryland law permits unconditional pretrial detention only where no conditions
of release will reasonably protect the public or ensure the defendant's appearance at trial, nearly
every evaluation of Maryland's pretrial system has found no relationship between a pretrial
detainee's perceived risk and the bond amount set.3 The 2014 Commission Report actually
documented an inverse relationship between bail amounts and the risk to public safety, finding
that bail was set higher for low risk defendants than for their moderate and high risk counterparts.a
Lower risk defendants are detained because they cannot afford the bail, while higher risk
defendants who have access to financial resources are able to make bail and are often permitted to
do so without imposition of other conditions to protect the public.s Additionally, research shows




2
  The Abell Foundation, The Pretrial Release Project: A Study of Maryland's Pretrial Release and Bail System (2001)
(hereinafter "200l Abell Report"); Maryland Task Force to Study the Laws Polices Relating to Representation of
Indigent Criminal Defendants (2012); James Austin and Johnette Peyton, the JFA Institute, Maryland Pretrial Risk
Assessment Data Collection Study (2013); Commission to Reform Maryland's Pretrial System, Final Report (2014)
(hereinafter "2014 Commission Report"); John Clark, Pretrial Justice Institute, "Finishing the Job: Modernizing
Maryland's Bail System," The Abell Report, Yol.29, No.2 (June 2016) (hereinafter"2076 Abell Report").
3
    See id.
4 2014
          Commission Report at 19.
5
 In some jurisdictions using a wealth-based pretrial system, nearly half of the most dangerous defendants are able to
post bail and reenter the community without monitoring or supervision by courts. See Laura and John Arnold
Foundation, Developing a National Model for Pretrial Risk Assessment (November 2013) at l
     Case 3:17-cv-00321-WKW-SMD                    Document 6-40            Filed 05/18/17         Page 5 of 18




    The Honorable Alan M. Wilner
    Page 4

    no direct correlation between monetary bail and the defendant's appearance at trial.6 In short,
    Maryland's pretrial release practices also fail to advance the State's criminal justice goals.

           IV       INCRBISTNG RELIANCE oN PRETRIAL SERvIcES, AS oPPoSED To PRETRIAL
                    DETENTION, IVILL LEAD TO BETTEROUTCOMES.

         Across the board, states and cities that rely upon evidence-based pretrial risk assessments
experience a reduction in their pretrial detention populations and an increase in defendants'
appearance at trial without incurring a greater risk to public safety. In the District of Columbia,
where courts rely heavily on supervised pretrial release rather than bail, 90% of defendants appear
for trial and are not rearrested before their cases are resolved.T Similarly, after Kentucky shifted to
a nonfinancial pretrial release program and adopted an evidence-based risk assessment tool, its
pretrial release rate increased from 68Yoto70%o,its court appearance rate rose from 89yoto9lo/o,
and arrests for new criminal activity while on pretrial release dropped by l5Yo.8 A Colorado risk-
assessment tool documented a95%o court appearance andglYo public safety rate for its lowest risk
defendants.e Each of these jurisdictions developed a pretrial services program and employed a risk-
evaluation tool that resulted in increased court appearances and in some instances, reduced
recidivism.l0 These systems also experienced a reduction in the costs of housing defendants
pretrial and prevented the injustice and collateral consequences attached to wealth-based pretrial
detention. In Maryland, where the majority of defendants unable to secure pretrial release are low
to moderate risk individuals, the opportunity for improved outcomes is substantial.

             V     MIRYUNN'S PRETRIAL SYSTEM DISPRoPoRTIoNATELY AFFEcTS RACIAL
                    MINORITIES.

        Reliance on a wealth-based pretrial detention system disproportionately affects people of
color, whose median household incomes are the lowest in the country. The Pretrial Justice Institute
found that, nationally, there is a significant correlation between race and levels of bail. African
American men receive bail that is 35% higher than bail given to white men; Hispanic men receive




6
 See e.g'2001 Abell Report which found that defendants in Montgomery County who were released on surety or
cash bonds had higher failure to appear rates than those released on their own personal recognizance.
12014 Commission Report at24; AnnE. Marimow,
                                                      "When it comes to pretrial release, few other jurisdictions do it
D.C.'s way," W'ashington Post (July 4, 2016).
8
    2016 Abell Reporr at 10.
e
    2016 Abell Report at I l.
10
   Examples ofeffective pretrial supervision strategies for lower risk defendants include "court notifications through
telephone calls, emails, or text messages, early and meaningful response to defendant misconduct, regular reporting,
drug testing, GPS electronic monitoring, and treatment referrals." 2014 Commission Report at 14.
      Case 3:17-cv-00321-WKW-SMD                         Document 6-40        Filed 05/18/17         Page 6 of 18




    The Honorable Alan M. Wilner
    Page 5


    bail that is l9o/ohigher than white men.lr These racialinequities also exist in Maryland. According
    to the 2016 Abell Report,

             The economic disparities unleashed by the wealth-based bail system fall most
             heavily on racial minorities. Studies have consistently shown that African-
             American defendants have higher bond amounts and are detained on bonds at
             higher rates than white defendants, a factor contributing to the disproportionate
             confinement of persons of color. In Maryland, African-Americans comprise
             roughly 30 percent of the general population but make up 70 percent of prisoners.
             In Baltimore, African-Americans comprise about 60 percent of the city's residents,
             but 90 percent of Baltimore jail inmates.12

Similarly, corrections records from Baltimore City, Prince George's County and Baltimore County
reveal that African American males make up most of the pretrial detainee population, with many
held on small bail amounts.

             VI      PRNTNTNT, DETENTIoN UNNECESSARILY HARMs DEFENDANTS AND THEIR
                     FAMILIES.

        For those unable to pay bail, pretrial detention-even for short periods of time---can cost
defendants their jobs, housing and even custody of their children. Moreover, defendants who are
detained because they cannot afford bail are up to 30%o more likely to be convicted.l3 Those who
are able to post bail often do so at their financial peril, sometimes taking on crushing debt.la These
collateral consequences, which harm notjust the defendant but also the defendants' children and
other people who may be dependent on them for care and support, have been widely documented.ls
With these and similar hardships often resulting from pretrial detention, such detention should be
imposed only when necessary to prevent flight or protect the public. Indigence or the inability to
post bail should not trigger the often life-altering and devastating effects of pretrial detention. The


I   I The Pretrial Justice Institute, http://www.pretrial.org.

t2 2016 Abell
                  Reporr at 4.
t3 2016
      Abell Report at2 (citing Megan Stevenson, "Distortion of Justice: How the Inability to Pay Bail Affects Case
Outcomes" (2016)).
1a
   Lorelei Laird, "Court systems rethink the use of financial bail, which some say penalizes the poor," ABA Journal
(April l, 2016); Annalies Winny, "Demorrea Tarver's charges were dropped, but the l0 percent fee he promised a
bail bondsmen on his $275,000 bail has him drowning in debt," The City Paper (July 20,2016).
ts
     See id; see also, Robinson, et ql. v. Martin, et a|.,No.2016CH13587 (Cir. Court of Cook County, Illinois filed Oct.
14, 2016); Open Society Institute, "Unconvicted" (2016), a photographic exhibit available at
http://www.pretrial.org/endcashbail/;2001 Abell Report; Cherise Fanno Burdeen, "The Dangerous Domino Effect of
Not Making Bail," The Atlantic (April 12, 2016).
     Case 3:17-cv-00321-WKW-SMD            Document 6-40          Filed 05/18/17    Page 7 of 18




The Honorable Alan M. Wilner
Page 6

people made to suffer these consequences have not been convicted of any crime: in many cases
they are ultimately found not guilty or the charges against them are dismissed.

            VII. MIRyL¡.ND's pRETRTAL sysrnM rs cosrl,y ro rAxpAyERS.
        Lastly, Maryland's current pretrial system significantly burdens Maryland taxpayers.
According to the 2014 Commission Report, pretrial detention costs the state somewhere between
$83 and $153 a day for each of the 7,000 plus defendants who are detained in jail awaiting trial at
any given time in Maryland.l6 Using these numbers, state and local correctional agencies are
spending $500,000 to $1,000,000 a day on pretrial detention. In comparison, "[t]he United States
Courts determined that it is roughly 10 times cheaper to put a defendant on pretrial supervision
than to detain them in jail."r7 Indeed, the District of Columbia, Colorado, and Kentucky have all
seen the hscal benefits of developing strong pretrial supervision programs. Reducing the reliance
on money bail and increasing the use of other pretrial supervision tools result in taxpayer savings,
and allow for the most cost-effective use of tax dollars.

            VIII. CoNCLUSIoN
        The inadequacies of Maryland's pretrial system have been thoroughly documented: it is
expensive and discriminatory, and it fails to advance the State's compelling interests in protecting
the public or ensuring the defendant's appearance at trial. Jailing people who should otherwise be
released because they are unable to pay bail is out of step with state and federal law and with basic
concepts of liberty and justice.

                                              Sincerely,

                                                              É
                                              Brian E. Frosh
                                              Attorney General


       Encl.




t6
     2014 Commission Report at 12.
t7
     Id. at2o.
         Case 3:17-cv-00321-WKW-SMD                                          Document 6-40                      Filed 05/18/17                   Page 8 of 18



       Bnrru¡ E, Fnoss                                                                                                                    SÁnor¡r B¡uso¡l B¡r¡¡,¡rr,¿v
                                                                                                                                     COUNSEL TO TItg OtrN¿ML ÂSSBMB(,Y
       ATI'ORNEY C!NIiRÀL




    Br.rz¡¡rrr¡ Fl H¡nru¡                                                                                                                     Krrr¡nnt M. Rowe
CI¡¡S} DCDU Y ÂTTOßNP,Y GF,NF.R¡I,                                                                                                              DEllUTY COUNSIIL


                                                                                                                                              Jrnannv M. McCov
Tkrnw¡¡¡on¡x Vrcxlu¡.lx                                                                                                                    ASSISTANT ATTORNI]Y   G EN UA]{L

   DßP(IîY ATTORNEY CEN¿ML
                                          THB ATTORNEY GENERAL OF MARYLAND                                                                    D,w¡o \(1 Sr¡uP¡R
                                                                                                                                           ÁSSISTANT ÀI fORNCY C!NßN¡I.
                                             OFFICE OF COTJNSEL TO THE GENERAL,\SSEMBLY
                                                                         October 11,2016


          The Honorable Erek L, Barron                                                       The Honorable Kathleen M' Dumais
          Maryland General Assembly                                                          Maryland General AssemblY
          216 House Office Building                                                          Vice Chair, House Judiciary Committee
          Annapolis, Maryland 21401                                                          101 House Office Building
                                                                                             Annapolis, MarYland 21401

          The Honorable Shelly Hettleman                                                     The Honorable Marc Korman
          Maryland General Assembly                                                          Maryland General AssemblY
          311 House Office Building                                                          210 House Office Building
          Annapolis, Maryland 21 401                                                         Baltimore, MarYland 21207

          The Honorable Brooke E. Lierman
          Maryland General Assembly
          311 House Office Building
          Annapolis, Maryland 21 401

          Dear Delegates:

                      you have asked for advice about Maryland's system of pretrial detention, Specifically,
          you asked:

                l. Wheth                                                                                        e
                   and/or                                                                                       tl
                   judicia                                                                                      g                                  t's
                   financi                                                                                      f
                      pretrial release,

                ll. Whether the United States Constitution, the Maryland Declaration of Rights'
                      and/or other applicable federal and state law and regulations require that a
                     judicial officer'aïoid ordering money bail, or other financial conditlon of pretrial
                      release, clearly exceeding a criminal defendant's ability to pay

          Shorl answer

                   It is my view that the Court of Appeals would conclude that the State's statutory law and
          couil rules sh-ould be applied to require a judicial officer to conduct an indivldualized inquiry into
          a criminal defendant's åb¡t¡ty to pay a financial condition of pretrial release' Although it is less
          clear that defendants have a constitutlonal right to an individualized inquiry, constitutional
          considerations provide further support to the requirement of an individualized inquiry, lt
                                                                                                           is also
          my view that, while imposing a financial condltion is allowed under      current  State   law and  is not
                                                                                      that,  in the  event a judicial
          unconstitutional in and of itsãlf, tne Court of Appeals would likely hold
                                                                                            regulatory   goals,  a
          officer determines that pretrial detention is noijustified to meel the   State's
                                     IO4 LEGI$LAflVB   SIIRVICES   ßfrll,DIN(ì ', 90 sll{ìc ctRcLE ']lNNAf¡Ol'IS' M^ß'YIÁND Ll4?r-\t)9r
                                        4to-946-16oo. lot'97o'56oo, nnx 4ro'946-¡6or "rw 4to-946-14ot ' lot-97o'r4ol
Case 3:17-cv-00321-WKW-SMD                    Document 6-40            Filed 05/18/17        Page 9 of 18



Delegates Barron, DumaÌs, Hettleman, Korman, Lierman
October 11,2016
Page2


judicial officer may not impose a financial condition set solely to detain the defendant'
bonditions of pretrial release must instead be the least onerous to reasonably ensure the
appearance oithe defendant as required, protect the safety of the victim, or ensure that the
deiendant will not pose a danger to'another person or the community As a result' setting the
bail in an amount not affordaþle to the defendant, thus effectively denying release, raìses a
significant risk that the Courl of Appeals would find it violates due proÇess, lf pretrial detention is
 no"t justified yet bail is set out of reach financially for the defendant, it is also likely
                                                                                              the Court
would declare that the bail is excessive under       the  Eighth  Amendrnent    of the U'S,   Constitution
and Article 25 of the Maryland Declaration of Rights,

The PretrialProcess

       The pretrial process is ouilined in the M
appearance the judicial officer must "first follow
assure that the defendant either is represented
waived the rightto an attorney," Md.Rule 4-213
advise the defendant of the charges, Md. Rule 4-213(a)(2),

        Rule 4-216 sets outthe details of the pretrial proceeding itself, First, for defendants
arrasted without a warrant, the judicial olficer must determine whether there was probable
                                                                                        probable
cause for each charge and arrest, Md. Rule 4-216(a),lf the judicial officerfinds no
cause, the defendanl should be released at that time, lf the judicial officer finds  probable   cause,
the iuúicial officer should proceed to make a determination whether the defendant       is eligible for
release,l lf so, according to Rule 4-216(c),

        a defendant is entitled to be released before verdict on personal recognizance or
        on bail, in either case with or without conditions imposed, unless the judicial
        officer determines that no condition of release will reasonably ensure (1)the
        appearance of the defendant as required and (2) the safety of the alleged victim,
        another person, and the communitY;
                                                                                              "to the
        Rule 4-216(e)(1) requires the judicial officer to consider several specified factors'
                                                         should be released" and   what "the
extent available," tò iietermine "whether a defendant
conditions of release" should be;

        (A) the nature and circumstances of the offense charged the nature of the
        evidence against the defendant, and the potential sentence upon conviction;           ,

        (B) the deféndant's prior record of appearance at court proceedings or flight to
        avoid prosecution or failure to appear at coutl     proceedings;         .      .

        (C) tlre defendant's family ties, employment Status and history, fina¡.cial
                                                                                       the
        resources, reputation, chåracter an'd mental condition, length of residence in
        community, and length of residence in thìs State;
        (D) any recommendation of an agency that conducts pretrial release
        investigations;
        (E) any recommendation of the State's Attorney;
        (ni any information presented by the defendant or defendant's attorney,

         r By statute, defendants charged with certain crimes are not eligiblerelease or are eligible only
                                                                                 lor
                                                                                                Atlicle
under limited circumstances when auîhorized by a District Court judge, See Criminal Procedure
("CP'), $S 5-101(c) and 5-202, See a/so Md, Rule 4-216(d)'
Case 3:17-cv-00321-WKW-SMD                        Document 6-40         Filed 05/18/17        Page 10 of 18



Delegates Barron, Dumais, Hettleman, Korman, Lierman
October '1 1 , 201 6
Page 3


              (G) the danger of the defendant to the alleged victim, another person, or the
              community;
              (H) the danger of the defendant to himself or herself; and
              it¡'any otheifactor bearing on the risk of a wilfulfailure to appear and the safety
              oi the alleged victim, another person, or the community, including all prior
              convictions and any prior adjudications of delinquency that occurred within three
              years of the date the defendant is charged as an adult,

Md, Rule a-216(e)(1), Further, if the judicial officer imposes conditions on release,

              the judicial officer shall impose on the defendant the least onerous condition or
              combination of conditions of release,,, that will reasonably:

              (A) ensure the appearance of
              iB¡ protect the saiety of the all                             defendant to have no
              contact with the alleged victim                              ises or place of
              employment or by other appropriate order, and
              (C)' ensure that t'he defendant will not pose a danger to another person or to the
              community.

Md. Rule a-216(e)(3).

        Further, by statute, the State law provides that "if, from allthe circumstances, the court
believes that a minor or adult defendant in a criminal case will appear as required for trial before
verdict or pending trial, the defendant may be released on personal recognizance." CP $ 5-
101(b)(1). Moreo-ver, St"te law directs that these provisions "shall be liberally construed to carry
out ihe'purporu of relying on criminal sanctions instead of financial loss to ensure the
appearance of a defendant in a criminal case before verdict or pending a new trial." CP $ 5-
1 01   (a),

Analysis

                       Right to individualized inquiry before determination of pretrial release

         ln answer to your first question, there is little doubt that federal and State law require a
judicial officer to conäuct an individualized inquiry to determine conditions of pretrial release for
crim inal defendants who are eliglble for releaée, Rule 4-21 6(e) appears to require as. much and
the case law interpreting the apþlicable constitutional and statutory provisions implicitly confirm
that the judicial ofiicer must co'nduct an inquiry þefore setting conditions of release, including
money bail.

        The Court of Appeals has not explicitly held that arrestees are entitled to an
individualized inquiry to'determine pretrial coñditions of release but, in two cases addressing a
defendant's right to ôounsel at the initial appearance, has acknowledged that the b.ail
determinationiepends on the facts of each particular defendant's circumstances. ln DeWolfe v'
 Richmond,434 Md, 403,42g (2012) (Richm'ond /), the Courl observed that the determination of
whether to allow pretrial release involves a "fact-lâden" inquiry into considerations listed in Rule
 4-216 and that, as a result, "the presence of counsel for that determination surely can be of
assistance to the defendant in that process ," ld. al43O, ln a subsequent opinlon in the same
case analyzing whether defendants have a constitutional right to counsel, the Coufl again
Case 3:17-cv-00321-WKW-SMD                      Document 6-40             Filed 05/18/17          Page 11 of 18



  Delegates Barron, Dumais, Hettleman, Korman, Lierman
  October 11,2016
  Page 4


  emphasized that the Rule 4-216 baildetermination process involves a factual inquiry into the
  defendant's circumstances:

           Rule 4-2'16(f) details the numerous factors a Commissioner must take into
           consideration when imposing "on the defendant the least onerous condition or
           combination of conditions of release" that serves the purposes of "ensurfing] the
           appearance of the defendant," "protect[ing] the safety of the alleged victim," and
           "ensur[ing] that the defendant will not pose a danger to another person or to the
           comrnunity,"

 DeWolfe v. Richmond, 434 Md, 444,450 (2013) (Richmond //) (quoting Rule 4-216), The Court
 noted thai "the failure of a Commissioner to consider all the facts relevant to a bail determination
 can have devastating effects on the arrested indivíduals," ld. at452,The Court ultimately
 announced that an indigent defendant had a procedural due process right to be provided
 counsel at an initial appearance under Article 24 of the Maryland Declaration of Rights.z

          By highlighting the specified factors listed in Rule 4-216 that a judicial officer"mLrst"
 consider during a pretrial release proceeding, the Court of Appeals seems to have
 acknowledged in both Richmond I and Richmond llthat the defendant was entitled to an
 in<Jividualized consideration And given that Rule 4-2'16 specifically includes within that list of
 factors the defendant's "employment status and history" and "financial resources," Md. Rule 4-
 21 6(e)(1 XC), it is my view that the judicial officer must consider the defendant's particular
 finances and ernployment status when setting the terms of pretrial release.s My conclusion on
 that point finds furlher support in the provisions of CP S 5-101(a), which direct that criminal
 sanctions and not financial loss should be used to ensure the appearance of a defendant in a
 criminal case,

          ln addition to Rule 4-216 and the applicable statutory provisions, there is an argument
 under both the federal and Maryland Constitutions that a criminal defendant has a due process
 right to an indívidualized consideration of his or her financial resources before a financial
 condition of release can be imposed. As the Attorney General previously advised in a somewhat
 different context,

         [T]he Constitution places both procedural and substantive limitations on a court's
         power to incarcerate a crimlnal defendant in lieu of payment of a fine First, the
         court must inquire into the reason why the defendant has failed to pay the fine, lf
         the failure to pay is attributable to indigency the court must also consider
         alternate methods of punishment,

 86 Opinionsof the AttorneyGeneral'183, 186 (2001). That Opinion relied in parlon several
 prevlous cases that oveñurned or reduced prison sentences for failure to pay certain costs. See,
 e.9., Reddick v, Stafe 327 Md, 270 (1992); Smith y, Sfafe, 306 Md, 1 (1986); Turner v. Sfate,
 307 Md 618 (1986), See alsoThrowerv. Sfafe, 358 Md, 146,160-61 (2000) (observing in the

          2
            Article 24 states: "That no man ought to be taken or lmprisoned or disseized of his freehold,
libe¡ties or privileges, or outlawed, or exiled, or, in any manner, destroyed, or deprived of his life, liberty or
property, butb                                        the Law of the land,,,
          3Rule                                       cer to consider the specified information "to the extent
            is
available." lt                                        s have interpreted this language to allow them to
consider onlyt                                         Nevertheless, an inquiry tñto the defendant,s financial
resources and employment status presumably is atways available to the judicial officer
Case 3:17-cv-00321-WKW-SMD                    Document 6-40            Filed 05/18/17         Page 12 of 18



  Delegates Barron, Dumais, Hettleman, Korman, Lierman
  October 11,2016
  Page 5


  civil context that incarceration for failure to pay child support "obviously impinges upon the
  libefty interest that parents have under the Fourteenth Amendment to the U.S, Constitution,
  under the Maryland Constitution, and under Maryland common law, and thus must comport with
  both procedural due process and with the non-Constitutionãl procedures ordained by this
  Court"). Although neither the Opinion nor the cases it relied on address the bail determination
  process, they all suggest that a defendant is constitutionally entitled to an individualized inquiry
  before a monetary obligation impacting that individual's liberty may be imposed.

          The position taken by the federal Department of Justice ("DOJ") provides further support
  for the conclusion that due process princlples require an individualized consideration of a
  defendant's financial resources when imposing a financial condition of pretrlal release. ln an
  amicus curiae brief submitted in the United States Court of Appeals for the Ëleventh Circuit, the
 DOJ argued that fixed bail schedules violate the Fourteenth Amendment because they fail to
 provide indigent individuals a "meaningful consideration of their ability to pay and alternative
 methods of assuring their appearance at trial," and as such, violate the Fourteenth Amendment.
 See Brief of the United States, Walkerv, City of Calhoun, No 16-10521-HH,4 The DOJ relied on
 Supreme Court precedent holding that individuals cannot be imprisoned solely on the basis of
 theirindigency,Eg,, Griffinv, lllinois,351 U.S. 12 (1956); Williamsv, lllinois,399 U.S.235
 (1970); Tate v. shorl,401u,s, 39s (1971); and Bearden v, Georgia, 461 u.s, 660 (1983),

          Although [these cases] have arisen in the seniencing and post-conviction
          contexts, their holdings apply with equai, if not greater, force in the bail context,
          lndeed, defendants who have not been found guilty have an especially "strong
          interest in liberty." Because of that liberty interest, pretrial release should be the
          norm, and pretrial detention "the carefully limited exception." To be sure, in
         certain circumstances, such as when a court finds that a defendant poses a
         threat to others or presents a flight risk, this fundamentally imporlant right may be
         circumscribed on a case-by-case basis,,,. But fixed bail schedules tha[ allow for
         the pretrial release of only those who can pay, without accounting for ability to
         pay and alternative methods of assuring future appearance, do not provide for
         such individualized determinations, and therefore unlawfully discrimlnate based
         on indigence.

DOJ Amicus Brief at 17 (quoting lJnited Sfafes v. Salerno,48l U,S, 739,750,755 (1987)),5 See
also Pugh v. Rainwater,572F.2d 1053, 1057 (Sth Cir, 1978) ("Utilization of a master bond
schedule provídes speedy and convenient release for those'who have no difficulty in meeting[]


                                                      887436/download. The DOJ amicus brief was filed in
                                                       ry injunction concluding that the City of Calhoun's
                                                      use, See Walker v. Calhoun, No, 4;15-CV-0170-
                                                      I is pending.
                                                      terest" in Varden v. City of Clanton, M D, Ala,, Case
No, 2:15-cv-34-MHT-WC stating that "[i]ncarcerating indlviduals solely becãuse of their inability to pay for
their release, whether through the payment of fines, jees, or a cash bónd, violates the Equal Piotectioî
Clause of the Fourteenth Amendmeni,,, Statement at 1, available at
hltps ://www j ustice gôv/f ile/34046,1 /down load.

rhe
schedu
      cas                               :?\iTå:il'ñ;y,îfl:i::Jå:l3[iìi3,?il
                                         without an individualized hearing regarding
                                                                                                          ,



indigen                                 atives to bail, violates the Due process Clau
Amendment."Jones v.Cityof Clanton,2OlSWL 5987219(Sept. 14,2015)(ptatnilff Jonesappearingon
behalf of the estate of Ms, Varden, who is now deceased),
Case 3:17-cv-00321-WKW-SMD                   Document 6-40            Filed 05/18/17         Page 13 of 18



 Delegates Bârron, Dumais, Hettloman, Korman, Lierman
 October '1 'l , 2016
 Page 6


 its requirements, The incarceration of those who cannot, without meaningful consideration of
 other þossible alternatives, infringes on both due proÇess and equal pÍotection requirements,")'
 Althoúgh Maryland's pretrial procidures do not impose a fixed bail schedule, failing to consider
 an incjividual defendant's circumstances would have much the same effect and thus risks a
 determination that the Fouñeenth Amendment as well as the Maryland Constitution has been
 violated,o

         lndeed, one state's highest court reached that conclusion in a case analyzing the
 constitutionality of a state baiireform statute ln Aime v, Çommonwealfh, the Supreme Court of
 Massachusetts found that the statute waç unconstitutional because "[t]he procedural defects Of
 the hearing contemplated by the amendments violate the requirements of procedural due
 process,,.; O1 1 N,E,Zd ze4', 214 (Mass. 1993), The court compared the Massachusetts bail
 statute to the federal Bail Reform Act and found that the Massachusetts statute did not contain
 the same procedural protections before detention could be imposed. "A State may not enact
 detention schemes without providing safeguards similar to those whìch Congress incorporated
 into the Bail Reform Act," /d. at 213-(relying on U.S, v, Salerno,481 U'S. 739 (1987))' ln the
 statute at issue, the court concludedl

        The amendments create a statutory scheme calculated to protect the public from
        an arrestee's claimed dangerousness. The amendments use the amount of bail
        as the means to secure this goal, The amendments thus create an incentive for a
        judicial officer to set bail in an amount so that an arrestee perceived to be
        dangerous wifl not be able to gain his or her liberty pending trial,

td. al21O. "Even critics of preventive detention of dangerous individuals have thought that a
scheme providlng for detention without surety is more equitable than a scheme that uses surety
as a device to aclomplish preventive detention, Dangerousness, these critics reasoned
provides a more appropriate basis for detention than pover1y," /d. at n,12 (citation omitted).

        To summarize, Marytand law outlines the factors that a judicial officer must consider
before imposing conditions-of release and directs the judicial officer to impose only.the least
onerous condition or combination of conditions that will ensure the appearance of the defendant
at subsequent proceedings and protect the safety of the victim, the community and others.
lmposing a high bail amount on a person of llmited rneans is unlikely to be the least onerous
conditioñ,                    for                his type of fact-specific    de                ably
     þe
cannot                        ind                ry into the criminal defend
resources.                    ns,                 of Appeals would declare
    and
Rules                        y pr                 an individualized inquiry i
defendant's financial resouices before the  judicial officer can impose money bail as a conditlon
of release. Although the Court of Appeals has not    yet  stated that a defendant has a
constitutional righ[to an individualized hearing about his or her financial condition þefore bail is
imposed, due piocess concerns are raised where a judicial officerfails to conduct an
individualized hearing required by State law,


        ô The Court of Appeals has stated that Article 24 of the Maryland Declaration of Rights "is in

harmony with the 5th and 14th Amendments to the Federal Constitution, and the term'due process of
                 d amendments has  b                                   with the expression 'Law of the
                 aid article"'ourslerv'                               ' soe a/so Evans v' slate' 396
                                  co
                 6) (noting that the                                  rticles 16, 24 and 25 of the
                                 bein
                 ion of niõhtsl as                                    I counterparts")'
Case 3:17-cv-00321-WKW-SMD                   Document 6-40           Filed 05/18/17         Page 14 of 18



 Delegate s Barron, Dumais, Hettleman Korman, Lierman
 October 11,2Q16
 Page 7


                                          Right to Affordable Bail

          Your second question asks whether a judicial officer is prohibited by law from imposing a
 money bail or other fiÅancial condition of pretrìal release that exceeds the defendant's ability to
 p"y, Rs discUssed in more detail b                                                 his issue directly,
 Thêre are opinions from the    Court                                               ago stating that
 an indigent defendant's ability pay                                                evertheless,     I


 þelievithat Maryland's appeilate-courls, if ruling on this issue today, would likely conclude that
 where the judiciãl officer has determined that pretrial detention is not warranted, the imposition
 of bail or oiher financial cpndition of release that a defendant cannot pay implicates substantive
 due process and equal protection considerations, and may be found to be excessive under the
 Eighih Amendment to the U.S. Constitution and Article 25 of the Maryland Declaration of Rights.

         Federal law explicitly states that "[t]he judicial officer may not impose a financial
 condition that results in the pretrialdetention of the person." '18 U,S,C. $ 3142(c)(2)'
 Accordingly, Under federal law, the judicial officer may not use bail solely as a means to keep a
 defendant in pretrial detention See DOJ Brief in Walker at 26, Although State law does not
 containthesameexpressprohibition iteffectivelymandateslhesameresult,section5'101 of
 the Criminal Procedure Article directs that the pretrial release provisions "shall be liberally
 construed to carry out the purpose of relying on criminal sanctions instead of financial loss to
 ensure the appearance of a defendant in a ériminal case before verdict or pending a new trial'"
 CP S 5-101(a). Further, Rule 4-216(c) stales,

        a defendant is entitled to be released before verdict on personal recognizance or
        on bail, in either case with or without conditions imposed, unless the judicial
        officer determines that no condition of release will reasonably ensure (1) the
        appearance of the defendant as required and (2)the safety of the alleged victim,
        another person, and the community,

 The foregoing provisions establish that when detention is not required to ensure a defendant's
 return orlhe éatety of the community, a judicial officer may not impose on an indigent defendant
 a financial condition that the defendant is unabf e to satisfy, lest the bail transform from a
 condition based on risk of return to a penalty þased on economic status'

         No court has explicitly stated that there is a consfifufionalright to affordable bail, There is
strong reason to believe, however, that criminal defendants have a liberty interest in not being
detained solely on the basis of their poverty and that interest-protected by substantive due
process under the Fourteenth Amendment and Article 24 ol the Maryland Declaration of
Rights-is impinged if bail is unreasonably out of reach, See Allmond v, Dept. of Health and
Mental Hygiene,448 Md, 592, 609-10 (2016) (e
refers to the principle that there are certain liþe
legislative restrictions, regardless of the proced
narrowly tailored to satisfy an important govern
577 (N,D, Cal. 1996) lnoting thai"¡t¡ne cônstitutional ban on excessive pretrial detention can þe
understood as a right guaranteed by substantive due process"),7

         7 ln Ailemen, the federal magistrate conducted an extensive analysis of how coufts across the
country have analyzed the due procðss limits of pretrial detentlon The case involved a more than two-
year pietrial deteniion of an individual charged with serious drug crimes, ln trying to determine at what
þoint a prolonged pretrial detention violateJdue process, the magistrate noted that "indisputably
iundamentalrights-tne rightto a speedy trial, the protection againstexcessive bail, the presurnptlon of
Case 3:17-cv-00321-WKW-SMD                 Document 6-40           Filed 05/18/17        Page 15 of 18



 Delegates Barron, Dumais, Hettleman, Korman, Lierman
 October 11, 2016
 Page 8




          In a Çase upholding the facial constitutionality of the federal Bail Reform Act, which
 authorized pretrial detention for defendants identified as dangerous the Supreme Coutl put
 fofth the test for assessing whether the government violated the defondant's due process rights'
 US, v. Salerno,48l U.S.739(1987) "WehaverepeatedlyheldthattheGovernment's
 rçgulatory interest in community safety can, in appropriate circumstances, outweigh an
 inC¡v¡duals liberty interest." ld. at748.-The government's interests, however, must !e.legitimate
 and compelling, iO, al74g, The Coud went ón to observe that "[o]n the other side of the scale .. '
 is the individuàl's strong interest in liberty, We do not minimize the importanoe and fundamental
 nature of this right, But,as ourcases hold, this right may, in circumstanceswherethe
 government's iñterest is sufficiently weighty, be subordinated to the greater needs of society,"
 ld. at75A-51.

         Although the Court in Sa/erno ultimately concluded that the Bail Reform Act was not
unconstitutionãl on its face, it reiterated that "Ii]n our society liberly is the norm, and detention
                                       li
prior to trial or without trial is the carefully                           ng "numerous procedural
safeguards. .." ld. a1755, See  alsoWheele                                 566, 579 (2005) (noting that
"[u]nless  persuaded              convincin
                        by clear and                                       ndant is a danger to another
p"ison oi to the community, a judicial officer does not have 'discretion' to conclude that the
defendant is too dangerous to'be released pending lrial"); Ailemen, 165 F'R'D' at 580
(Concluding that "[i]t il only by focusing on the actual conditions of release, and what those
conditions would còntrib uie lo reducing ttre threat of harm to the government's regulatory
interests, that courts can accurately aisess how much continued imprisonmentwould contribute
to achieving the government's regúlatory goals") (emphasis in original); Sfats v, Blackmer,63l
A,2d 1 134, 114OlVt, 1993) (exptãining [nA the three important considerations under due
process are "(1) bail cannot be denieJin order to inflict pretrial punishment; (2) pretrial detention
cannot be excessive in relation to the regulatory goal; and (3) the interests served by the
detention must be legitimate and compelling"),

        lmposing a bail amount that exceeds the defendant's ability to pay has much the same
result as denyin-g pretrial release. "flln the case of an indigent, whose appearance at trial could
reasonably bä aésured by one of the alternate forms of release, pretrial confinementlor lnability
to post money bail would constitute imposition of an excessive restrainl." Pugh, 572 F -2d al
1057-58, lt is possible, therefore, the Court of Appeals would hold that substantive due process
considerations requìre that any condition of pretrial release must be the least onerous condition
forthat individualio meetthe btate's compelling interesls as identified in CP $ 5-'101 and Rule
 4-216(c).lf so, the Court might also conclude that a þail amount that clearly exceeds the ability
of the defendant to pay andinat ¡s imposed solely to detain a defendant violates due process,

         Another possible constitutional concern with imposing bail exceeding the defendant's
ability to pay arises from the Eighth Amendment to the United States Constitution, which
provides in relevant part, "Excessive bail shall not be required," Although the Supreme Court
has not clearly stated that the Fourleenth Amendment Due Process Clause incorporates the
Eighth Amendment against the states, it has on more than one occasion stated that the Eighth
Amendment "has been assumed to have application to the States," Schi/b v. Kuebel,404 U.S,
357,365 (1971); see a/so Bakerv. McCotlan,443 U.S. 137,145 (1979) (discussing Sch/ib);
McDonald v, City of Chicago,561 U,S, 742,764 n.12 (2010) (including the Eighth Amendment
among those Biil of Rights-protections that have been incorporated in, and thus made applicable

innocence-all would be empty pronouncements, full of sound and fury but slgnifying nothing, for a
defendant who could be imprisoned indefínitely while awaiting trial," 165 F,R.D at 578
Case 3:17-cv-00321-WKW-SMD                Document 6-40                 Filed 05/18/17          Page 16 of 18



 Delegates Barron, Dumais, Hettleman, Korman, Lierman
 October 11,2016
 Page 9


 to the States through, the Foufteenth Amendment); rd at 765 n,13 (omitting the Eighth
 Amendment from the list of rights "not fully incorporated"), Many lower courts that have reached
 the issue have concluded that the Excessive Bail Clause applies to the states, See, e,9,,
 Campbellv. Johnson,586 F,3d 835 842 (11th Cir. 2009); U,S. v, Polouizzi,697 F, Supp,2d
 381, 3BO (E,D.N,Y, 2O1O)i United Stafes ex rel, Siegalv. Follette,290 F,Supp, 632
 (S.D.N,Y.1968) (noting that "îhe weight of authorityãnd reason favors" the application of the
 clause to the states), Maryland courfs too appear to have concluded that the Clause applies to
 the states, Bigtey v. Warden,16 Md, App, 'l ,9 (1972) (quoting Turco v. Maryland,324 F, Supp,
 O1 (D, Md 1971) for the assertion that the Eighth Amendment is applicable to the states through
 the Fourteenth Amendmenl)', Aravanr's v, Somerset Co.,339 Md. 644 656 n,10 (1995)
 (discussing extent to which different clauses of the Eighth Amendment apply to the states)

         Regardless of whether the Eighth Amendment is applicable to the stetes, Maryland's
 Constitution has its own excessive bail clause, The Maryland Declaration of Rights, Article 25
 provides "[t]hat excessive bail ought not to be required, nor excessive fines imposed, nor cruel
 or unusual punishment inflicted, by the Courts of Law," The Court of Appeals has explained:

        Arlicle 25 is, textually and historically, substantially identicalto the Eighth
        Amendment. lndeed, both of them were taken viñually verbatim from the English
        Bill of Rightsof 1689,Thus, itiswellsettledinthisStatethatArticle2Sof the
        Maryland Declaration of Rights is in para materia with the Eighth Amendment.
        lndeed, the excessive fines provision of Article 25 was one of eight such
        provisions which served as a modelforthe Excessive Fines Clause of the Eighth
        Amendment, Thus, the excessive fines provision of Article 25 should be
        interpreted co-extensivefy with the excessive fines provision of the Eighth
        Amendment.

 Aravanis y. Somersef Co.,339 Md.644,656-57 (1995) (citations omitted), The Court of Appeals
has not sirnilarly determined thatthe excessive bail provision of Article 25would be interpreted
in pari materia with the Excessive Bail Clause of the Eighth Amendment, but I believe that the
Court likely would reach that conclusion if presented with the opportunity.

         The Supreme Courl has expressly stated that the Eighth Amendment requires that a
judicial officer consider "the financial ability of the defendant to give bail" when deciding the
financialtermsof release, Stackv,Boyle,342U,S. 1(1951),TheCourtinthatcaseconfirmed
that the purpose of bail is assurlng the defendant's presence at trial, and, thus "[blail set at a
figure higherthan an amount reasonably calculated tofulfill this purpose is'excessive'underthe
                                                          any individual defendant must be based

                                                        :   3:,f ï ï å 3 3, il,ii,iX'l,1.',,xll; J t.ì " "
                                                   itions that are (1) more onerous than
necessary to satisfy legitimaie governmental purposes and (2) result in deprivation of the
defendant s liberty.")

          Although bail must be set only for the purpose of assuring the defendant's presence at
trial or where the defendant is a danger if released, coufts have not concluded that simply
imposing bail at an amount a defendãnt cannot pay because of the defendant's poverty is
           i'excesslve"
thereby                 under the Eighth Amendmenl, Hodgdon v, lJnited Súafes, 365 F,zd 679,
687 (Bth Cir 1966) (stating þail "is not excessive merely because the defendant is unable to pay
il")', United Sfates v. McConnelt,842F,2d105, 107 (5th Cir.1988) (stating that, although bail is
Case 3:17-cv-00321-WKW-SMD                   Document 6-40           Filed 05/18/17         Page 17 of 18



 Delegates Barlon, Dumais, Hettleman, Korman, Lierman
 October 11,2016
 Page 10


excessive under the Eighth Amendment when greater than necessary to assure presence at
trial, "a bail setting is nõt constitutionally excesð¡ve merely because a defendant is financially
un.ble to satisfy the requirem enl"); Donohue v, Jenne, 7ó5 So, 2d 969 (Fla. App' ?099)
(rejecting defendant's cÍaim bond unreasonable "since the state did not establish that he can
                                                                                 H, lsrael, Nancy J'
iay tor ãUond set at g250,000"), See generatlyWayne R, LaFave Jerold (4th
King, Orin S. Kerr,    qòrim,'proó,S     12,ã(b), "Póvertyand pretrial release,"     ed.,2015
 update).
                                                                                                 years
          Consistent with these decisions, the Court of Special Appeals held more than 40
                                                                                                      or
 ago that "[tJhe question of excessive bail is not resolved on the basis of an individual's ability
 ¡nãUitity to iaise a certain sum,..and slnce the applicant in this case claims indigence, it may
 also bé that the applicant could not even post nominal bail," Slmmo nsv. Warden, 16 Md, App,
  44g,450 (ig73), tire version of the bail rules at that time left the bail decision to "the discretion
of thecourt."/d. See alsoHunterv,Warden,lTMd.App,86(1973) (citingtheSimmonscase
but also recognizing that "[e]ach case must be decided on its own particular circ,umstances");
 Bigteyv,Waíden,fOn¡O.nóp          f (g72)(notingthatthecourt ruleatthetimeleftthebail
consideration to the corJft's discretion with "no'special governing statute or rule")' Today Rule 4-
216 provides specific factors governing the conditions of pretrial release

        Further, the criminaljustice system is much different now than in 1973 and the
jurisprudence seems to be jiving more weight toward the defendant's ability to pay bail'
Âftnougn the Supreme Court has not spoke-n in detail about the core protections conferred
                                                                                             by
the Excessive Bail Glause. in 1987 it piovided guidance within the  context of the federal Bail
 Reform Act:

         The only arguable substantive limitation of the Bail Clause is that the
         Governmenl's proposed conditions of release or detention not be "excessive" in
         light of the peróeived evil, Of course, to determine whether the Government's
         rãrponru is excessíve, we must compare that response against the interest the
         Government seeks to protect by means of that response'

 Salern                               milar lines, it is possible that the Court of Appeals would find
 bail to                              icial officer, appiying the considerations required by current
 State I                              opriate, an6 yet iefUall at an amount the defendant clearly
 cannot pay,
                                                                                               that
        Finally, imposing a bail amount that keeps a defendant in pretrial detention be,cause
individual is poor änd cãnnot afford bail also raises equal protection concerns' The following
passage from Justice Douglas'opinion in Bandy v' |Jnited Sfates, sitting as a circuit judge, is
frequently quoted on thÍs point:

         Can an indigent be denied freedom, where a wealthy man would not, because he
         does not ha-ppen to have enough property to pledge for his freedom? lt would be
         unconstitutional to fix excessivð na¡l to assure that a defendani will not gain his
         freedom Yet in the case of an indigent defendant, the fixing of bail in even a
         modest amount may have the practical effect of denying him release,

 Bandy v, U,S,, 81 S. Ct, 197, 198 (1960) (Douglas, J., as  Ci                            underwhich
 personal liberty is to be deprived are limitàd Oy tlre  constitut                        [], be they
 moneyed or inbigent, befriended or friendless, employed    or                            t or transient'
    Case 3:17-cv-00321-WKW-SMD                   Document 6-40           Filed 05/18/17         Page 18 of 18
I




     Delegates Barron, Dumais, Hettleman, Korman, Lierman
     October 11,201Ç
     Page 1 1


     of good reputation or bad," Pugh,572F,2d al1O57, See also Hairstonv, IJ,S',343 F'2d 313'
     31-6-17 (O.C. C¡r, 1965) (Bazeion, C.J., dissentlng) ("[s]etting high bailto deny release
     rjiscriminate(s) between the dangerous rich and the dangerous poor"),

             Notwithstanding the forceful arguments in support of the equal protection argument, I
     have found no court thåt applied an eq-ual protection analysis to find that bail is unconstitutional
     when set in an amount a padicular indigeni defendant cannot meet, At the same time, if it is
     determined in a particulai case that mo-ney bail served no other governmental .purpose than
     detaining that defendant without sufficient financial means, I believe that it is plausible that the
     CoL¡r1 of-Appeals would find a violation of the Equal Protection Clause of the U S' Constitution or
     Afticle 24 of the Maryland Declaration of Rights,B

     Conçlusion

              Based on the foregoing itis                      e Court ofAppeals                           he
     State's statutory law and court rules                      ied  to    jud
                                                                        require    a                       an
     individualized inquiry into a criminal                    ility to pay  a  financi
                                      that
     release, Although it is less clear                        ve aconstitutional                         ed
     inquiry, constitutional  considerations   provide  further   supporl  to  the   requirement of an..
     ¡ndiv¡ðualized inquiry, lt is also my view that, while imposing a financial condition is allowed
     under current State law and is noi unconstitutional in and of itself, the Court of Appeals would
     likely hold that, in the event a judicial officer determines that pretrial detention is not justified to
     meet the State's regulatory goals, a judicial officer may not impose a financial condition set
     solely to detain the defendañt, ConAlt¡ons of pretrial release must instead be the least onerous
     to reåsonably ensure the appearance of the defendant as required, protect the safety of the
     víctim, or enðure that the defendant will not pose a danger to another person or the community
     As a result, setting the bail in an amount not affordable to the defendant, thus effectively
     denying r"i"are, iaises a significant risk that the Court of Appeals would find it violates due
     proóess lf pretrial detention is not justified yet bail is set out of reach financially for the
     befendant, it is also likely the Couú would declare that the bail is excessive under the Eighth
     Amendment and Article 25 of the Maryland Declaration of Rights.


                                                      Sincerely,



                                                               Benson
                                                      Counsel to the                embly




             s See Neiferf v. Dep'tof the Env't,395 Md,486,504 (2006)(explaining thatalthough Article 24 of
     the Maryland Declaration of nignts does ñot have an express equâl protection clause, "the concept of
     equal protection is embodled wlthin the Article").
